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                                      EXHIBIT B




DOCS_DE:238939.2 05233/003
                                                        Exhibit B




                                                         Delivery &                                  Statement   Marketing Exp
Store #        Store Name    Merchandise    Royalty     Shuttle Fees   Warranty       Other            Total       Invoice     Total AR
          204 Marquette     $ 35,261.61 $     3,662.03 $      893.51 $   2,643.59 $     (310.82) $     42,149.92 $ 30,277.21 $ 72,427.13
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